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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                     DistrictDistrict
                                                __________    of Columbia
                                                                      of __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No.
                     ISABELLE GARCIA                             )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              SEE ATTACHED AFFIDAVIT          in the county of                              in the
                       District of          COLUMBIA         , the defendant(s) violated:

            Code Section                                                   Offense Description
18 USC 1343                                    WIRE FRAUD




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature


                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             02/26/2016
                                                                                               Judge’s signature

City and state:                      WASHINGTON, DC                                ALAN KAY, MAGISTRATE JUDGE
                                                                                             Printed name and title
